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                           United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION


 UNITED STATES OF AMERICA                          §
                                                   §   Criminal Action No. 4:19-CR-15
 v.                                                §   (Judge Jordan/Judge Johnson)
                                                   §
 MICHAEL ALLEN WATSON (1)                          §

                  MEMORANDUM ADOPTING REPORT AND
           RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

        Came on for consideration the above-referenced criminal action, the Court having

 heretofore referred the request for the revocation of Defendant’s supervised release to the United

 States Magistrate Judge for proper consideration.      The Court has received the Report and

 Recommendation of the United States Magistrate Judge pursuant to its order. Defendant having

 waived allocution before the Court as well as his right to object to the report of the Magistrate

 Judge, the Court is of the opinion that the findings and conclusions of the Magistrate Judge are
          .
 correct.

        It is therefore ORDERED that the Report and Recommendation of United States

 Magistrate Judge is ADOPTED as the opinion of the Court.

        It is further ORDERED that Defendant’s supervised release is hereby REVOKED.

        It is further ORDERED that Defendant be committed to the custody of the Bureau of

 Prisons to be imprisoned for an additional term of imprisonment of fourteen (14) months, with no

 term of supervised release to follow.

            So ORDERED and SIGNED this 2nd day of December, 2022.




                                                             ____________________________________
                                                             SEAN D. JORDAN
                                                             UNITED STATES DISTRICT JUDGE
